Case No. 1:14-cv-02887-JLK-CYC                                   Document 182                    filed 06/11/19               USDC Colorado
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                                   IN THE UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF COLORADO

Civil Action No. 14-CV-02887-JLK-MEH

ALEJANDRO MENOCAL,
MARCOS BRAMBILA,
GRISEL XAHUENTITLA,
HUGO HERNANDEZ,
LOURDES ARGUETA,
JESUS GAYTAN,
OLGA ALEXAKLINA,
DAGOBERTO VIZGUERRA, and
DEMETRIO VALERGA,

on their own behalf and on behalf of others similarly situated,

           Plaintiffs,

v.

THE GEO GROUP, INC.,

      Defendant.
 ____________________________________________________________________________
                                        NOTICE OF ENTRY OF APPEARANCE
 ________________________________________________________________________________________________________________________________________________________



           COMES NOW, Patrick J. McCabe, of the law firm of Holland & Knight LLP, and hereby

enters his appearance as counsel of record on behalf of Defendant The GEO Group, Inc.

           DATED this 11th day of June, 2019.

                                                                       Respectfully submitted,

                                                                       s/ Patrick J. McCabe
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                               CERTIFICATE OF SERVICE

      I hereby certify on this 11th day of June, 2019, a true and correct copy of the foregoing
NOTICE OF ENTRY OF APPEARANCE was e-filed with the Court via CM/ECF system
which will send notification of such filing via to the following:

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                                             s/ Patrick J. McCabe
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